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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                        NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES



This case has been assigned to:
                     District Judge Michael W. Fitzgerald
                     Magistrate Judge Steve Kim


The case number on all documents filed with the Court should read as follows:
                                    2:16−cv−08040−MWF (SKx)
Most district judges in the Central District of California refer all discovery-related motions to
the assigned magistrate judge pursuant to General Order No. 05-07. If this case has been
assigned to Judge Manuel L. Real, discovery-related motions should generally be noticed for
hearing before the assigned district judge. Otherwise, discovery-related motions should
generally be noticed for hearing before the assigned magistrate judge. Please refer to the
assigned judges’ Procedures and Schedules, available on the Court’s website at
www.cacd.uscourts. gov/judges-requirements, for additional information.




                                                                Clerk, U.S. District Court

 October 28, 2016                                               By /s/ Estrella Tamayo
    Date                                                           Deputy Clerk




                                             ATTENTION
The party that filed the case-initiating document in this case (for example, the complaint or the
notice of removal) must serve a copy of this Notice on all parties served with the case-initiating
 document. In addition, if the case-initiating document in this case was electronically filed, the
   party that filed it must, upon receipt of this Notice, promptly deliver mandatory chambers
 copies of all previously filed documents to the newly assigned-district judge. See L.R. 5-4.5. A
 copy of this Notice should be attached to the first page of the mandatory chambers copy of the
                                     case-initiating document.



CV−18 (04/16)                  NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
